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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                              TYLER DIVISION



            INNOVATIVE GLOBAL SYSTEMS LLC,                            JURY TRIAL DEMANDED

            vs.                                                           6:10-CV-00327-LED

            VOLVO CONSTRUCTION EQUIPMENT,
            et al



                        NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL FOR
                                   DEFENDANT TOPCON TIERRA

                   Defendant Topcon Tierra files this Notice of Appearance of Counsel and hereby notifies

            the Court that Eugene M. Paige of the law firm of Keker & Van Nest LLP, 710 Sansome Street,

            San Francisco, California 94111-1704 is appearing as additional counsel for Defendant Topcon

            Tierra in the above-referenced matter. All pleadings, discovery, correspondence and other

            material should be served upon counsel at the address referenced above.




            Dated: August 12, 2010                              Respectfully submitted,

                                                                KEKER & VAN NEST LLP
                                                                710 Sansome Street
                                                                San Francisco, CA 94111-1704
                                                                (415) 391-5400
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                                                           By: /s/ Eugene M. Paige___________
                                                               Eugene M. Paige
                                                               emp@kvn.com
                                                               Attorneys for Defendant
                                                               TOPCON TIERRA




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                                            CERTIFICATE OF SERVICE


                   I hereby certify that all counsel of record who have consented to electronic service are

            being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-

            5(a)(3) on August 12, 2010. Any other counsel of record will be served by first Class U.S. mail
            on this same date.



                                                                /s/ Eugene M. Paige_____
                                                                Eugene M. Paige




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